
PER CURIAM.
This cause came on to be heard on the motion of appellees to affirm the judgment .appealed from pursuant to 31 F.S.A., Rule . 38 .of the rules of this Court and it appear-. ing to the Court from an examination of the record that said motion' is appropriate and seasonably made and that it is manifest that the questions raised on appeal are without substantial merit and need no further argument';
It is accordingly ordered, adjudged and decreed that the motion to affirm the judgment appealed from be and the same is hereby granted, and the judgment is
Affirmed.
TERRELL, Acting Chief Justice, O’CONNELL and BUFORD, JJ., and DICKINSON, Associate Justice, concur.
